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Suffo|k lCounty Sheriff's Department * 45 Bromfield Street ° Boston, MA 02108 ° (617) 989-6999 mi

Suffolk, :;s.

 

Ma.y 14, 2004
I hereby certify and return that on 4/16/2004 at 12:04:00 PM I served a true and

attested copy of` the Summons and ilomplaint in this action in the following manner:
To wit, by delivering in hand to lE‘..McKenna,Customer Service, agent, person in
charge at the time of service for Hassachusetts Bay Transportation Authority, at ,

10 Park Plaza, Boston, MA. U.S. District Court Fee ($5.80), Basic Service Fee

(IH} ($30.00), Travel {$Il..tZ|O)`r Po:_=.tage and Handling (_$1.00), Attest/Copies ($5.00}
Total Charges $42.00
John E. O'Brien ©§\Q\§% . )L

Deputy Sheri ff
Deputy SheriH‘

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